Case: 4:19-cv-00153-GHD-JMV Doc #: 57 Filed: 10/19/20 1 of 15 PageID #: 887


                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                            GREENVILLE DIVISION

 FILLISA HUEY, individually and on behalf
 of all others similarly situated,

                  Plaintiff,

          v.                                             Case No. 4:19-cv-00153-GHD-JMV

 ALLSTATE VEHICLE AND
 PROPERTY INSURANCE COMPANY,

                  Defendant.

                          AGREED CONFIDENTIALITY ORDER

        The parties agree to be bound by the below terms of this Confidentiality Agreement

(“Agreement”):

1.      Scope. All materials produced or adduced in the course of this matter, including,

but not limited to: initial disclosures, responses to discovery requests, deposition testimony

and exhibits, and information derived directly therefrom (hereinafter collectively

“documents”), shall be subject to this Agreement concerning Confidential Information as

defined below. This Agreement is subject to the Federal Rules of Civil Procedure and

the Local Rules of the United States District Court for the Northern District of

Mississippi on matters of procedure and calculation of time periods.

2.      Confidential Information.           As used in this Agreement, “Confidential

Information” means information designated as “CONFIDENTIAL-SUBJECT TO

CONFIDENTIALITY AGREEMENT” by the producing party that falls within one or

more of the following categories: (a) information prohibited from disclosure by statute;

(b) information that reveals trade secrets; (c) research, technical, commercial, financial or

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Case: 4:19-cv-00153-GHD-JMV Doc #: 57 Filed: 10/19/20 2 of 15 PageID #: 888


customer information or internal policies, guidelines, procedures, or handbooks that the

party has maintained as confidential; (d) medical information concerning any individual;

(e) personally sensitive information, including personally identifiable information

(including, but not limited to, Social Security Numbers, dates of birth, drivers’ license

numbers), personal financial information (including, but not limited to, financial account

numbers), and personal health information (including, but not limited to, medical records

and other records of treatment and diagnosis); (f) income tax returns (including attached

schedules and forms), W-2 forms and 1099 forms; or (g) personnel or employment records

of a person who is not a party to the case. Any copies or reproductions, excerpts,

summaries, compilations or other documents or media that contain Confidential

Information as defined above shall also be treated as Confidential Information pursuant to

this Order. Information or documents that are available to the public may not be designated

as Confidential Information.

3.     Designation

       (a)     A party may designate a document as Confidential Information for

protection under this Agreement by placing or affixing the words “CONFIDENTIAL -

SUBJECT TO CONFIDENTIALITY AGREEMENT” on the document and on all copies

in a manner that will not interfere with the legibility of the document. As used in this

Agreement, “copies” includes electronic images, duplicates, extracts, summaries or

descriptions that contain the Confidential Information. The marking “CONFIDENTIAL

- SUBJECT TO CONFIDENTIALITY AGREEMENT” shall be applied prior to or at the

time the documents are produced or disclosed. Applying the marking “CONFIDENTIAL

- SUBJECT TO CONFIDENTIALITY AGREEMENT” to a document does not mean that

                                             2
Case: 4:19-cv-00153-GHD-JMV Doc #: 57 Filed: 10/19/20 3 of 15 PageID #: 889


the document has any status or protection by statute or otherwise except to the extent and

for the purposes of this Agreement. Any copies that are made of any documents marked

“CONFIDENTIAL - SUBJECT TO CONFIDENTIALITY AGREEMENT” shall also be

so marked, except that indices, electronic databases or lists of documents that do not

contain substantial portions or images of the text of marked documents and do not

otherwise disclose the substance of the Confidential Information are not required to be

marked.

       (b)     The designation of a document as Confidential Information is a

certification by an attorney or a party appearing pro se that the document contains

Confidential Information as defined in this Agreement.

4.     Depositions. Unless all parties agree on the record at the time the deposition

testimony is taken, all deposition testimony taken in this case shall be treated as

Confidential Information until the expiration of the following: no later than the fourteenth

day after the final transcript is delivered to any party or the witness, and in no event later

than 60 days after the testimony was given. Within this time period, a party may serve a

Notice of Designation to all parties of record as to specific portions of the testimony that

are designated Confidential Information, and thereafter only those portions identified in

the Notice of Designation shall be protected by the terms of this Agreement. The failure

to serve a timely Notice of Designation shall waive any designation of testimony taken in

that deposition as Confidential Information, unless otherwise ordered by the Court.

5.     Protection of Confidential Material.

       (a)     General Protections.       Confidential Information shall not be used or

disclosed by the parties, counsel for the parties or any other persons identified in

                                              3
Case: 4:19-cv-00153-GHD-JMV Doc #: 57 Filed: 10/19/20 4 of 15 PageID #: 890


subparagraph (b) for any purpose whatsoever other than in this litigation, including any

appeal thereof. Confidential Information may only be disclosed to the named plaintiff(s)

and not to any other member of the putative class unless and until a class including the

putative member has been certified.

       (b)     Limited Third-Party Disclosures. The parties and counsel for the parties

shall not disclose or permit the disclosure of any Confidential Information to any third

person or entity except as set forth in subparagraphs (1)-(9). Subject to these requirements,

the following categories of persons may be allowed to review Confidential Information:

               1)      Counsel. Counsel for the parties and those working on this
                       litigation on behalf of counsel;

               2)      Parties. Individual parties and employees of a party but only to the
                       extent counsel determines in good faith that the employee’s
                       assistance is reasonably necessary to the conduct of the litigation in
                       which the information is disclosed;

               3)      The Court and its personnel and the jury;

               4)      Court Reporters and Recorders. Court reporters and recorders
                       engaged for depositions or any evidentiary hearing;

               5)      Contractors. Those persons specifically engaged for the limited
                       purpose of making copies of documents or organizing or processing
                       documents, including outside vendors hired to process
                       electronically stored documents;

               6)      Consultants and Experts. Consultants, investigators, or experts
                       employed by the parties or counsel for the parties to assist in the
                       preparation and trial of this action but only after such persons have
                       completed the certification contained in Attachment A,
                       Acknowledgment and Agreement to Be Bound;

               7)      Witnesses at depositions. During their depositions, witnesses in
                       this action to whom disclosure is reasonably necessary. Witnesses
                       shall not retain a copy of documents containing Confidential
                       Information, except witnesses may receive a copy of all exhibits
                       marked at their depositions in connection with review of the

                                              4
Case: 4:19-cv-00153-GHD-JMV Doc #: 57 Filed: 10/19/20 5 of 15 PageID #: 891


                        transcripts. Pages of transcribed deposition testimony or exhibits to
                        depositions that are designated as Confidential Information
                        pursuant to the process set out in this Agreement must be separately
                        bound by the court reporter and may not be disclosed to anyone
                        except as permitted under this Agreement;

                8)      Author or recipient. The author or recipient of the document (not
                        including a person who received the document in the course of
                        litigation);

                9)      Mediators or arbitrators. Mediators or arbitrators, including their
                        necessary staff, engaged by the Parties or appointed by the Court;

                10)     Others by Consent. Other persons only by written consent of the
                        producing party or upon order of the Court and on such conditions
                        as may be agreed or ordered.

        (c)     Control of Documents. Counsel for the parties shall make reasonable

efforts to prevent unauthorized or inadvertent disclosure of Confidential Information.

Each person to whom Confidential Information is disclosed pursuant to subparagraphs

5(b)(6) and (10), above, shall execute a non-disclosure agreement in the form annexed to

the motion for a protective order as Attachment A before receiving Confidential

Information, or, if the disclosure first occurs in a deposition, shall affirm on the record that

such person is bound by the terms of this Order. Counsel shall maintain the originals of

Attachment A signed by persons acknowledging their obligations under this Agreement

for a period of two years after the termination of the case.

6.      Inadvertent Failure to Designate. An inadvertent failure to designate a document

as Confidential Information does not, standing alone, waive the right to so designate the

document; provided, however, a failure to serve a timely Notice of Designation of

deposition testimony as required by this Agreement, even if inadvertent, waives any

protection for deposition testimony. If a party designates a document as Confidential


                                               5
Case: 4:19-cv-00153-GHD-JMV Doc #: 57 Filed: 10/19/20 6 of 15 PageID #: 892


Information after it was initially produced, the receiving party, on notification of the

designation, must make a reasonable effort to assure that the document is treated in

accordance with the provisions of this Agreement. No party shall be found to have violated

this Agreement for failing to maintain the confidentiality of material during a time when

that material has not been designated Confidential Information, even where the failure to

so designate was inadvertent and where the material is subsequently designated

Confidential Information.

7.     Filing of Confidential Information. This Agreement does not, by itself, authorize

the filing of any document under seal.   Any party or non-party who wishes to have the

Court consider, in connection with any motion or other pleading, any documents

designated as confidential, or any information derivative thereof, shall provide such

documents, appendix or exhibit(s) to chambers and to the non-filing parties and shall

promptly move to have such confidential documents in the appendices or exhibits filed

under seal, if the designating party desires continued confidential treatment of the

documents. To the extent information derivative of such a document is incorporated in

a brief or other written material submitted to court, such information shall be redacted

from any public filing, unredacted copies shall be provided to chambers and to the non-

filing parties, and the filing party shall promptly move for the unredacted version to be

filed under seal. Once an application has been made to file an unredacted brief or

exhibits or appendices under seal, while awaiting a ruling on such application, such

documents shall not be publicly filed or otherwise made publicly available. To the

extent the Court finds any document or information derivative thereof does not satisfy

the requirements to be filed under seal, such document or information derivative thereof

                                            6
Case: 4:19-cv-00153-GHD-JMV Doc #: 57 Filed: 10/19/20 7 of 15 PageID #: 893


may be filed publicly. To the extent this Order conflicts with L. U. Civ. R. 79, then L.

U. Civ. R. 79 shall control. The party designating the document or information as

confidential shall bear the burden of justifying the filing of confidential documents

under seal in contravention of L. U. Civ. R. 79’s presumption that all filed documents

be a part of the public record.

8.     No Greater Protection of Specific Documents. Except on privilege grounds not

addressed by this Agreement, no party may withhold information from discovery on the

ground that it requires protection greater than that afforded by this Agreement unless the

party moves for an order providing such special protection.

9.     Challenges by a Party to Designation as Confidential Information.               The

designation of any material or document as Confidential Information is subject to

challenge by any party. The following procedure shall apply to any such challenge.

       (a)     Meet and Confer. A party challenging the designation of Confidential

Information must do so in good faith and must begin the process by providing written

notice identifying the specific information for which the designation is being challenged.

The challenging party must proceed by conferring directly with counsel for the designating

party. In conferring, the challenging party must explain the basis for its belief that the

confidentiality designation was not proper and must give the designating party an

opportunity to review the designated material, to reconsider the designation, and, if no

change in designation is offered, to explain the basis for the designation. The designating

party must respond to the challenge within five (5) business days of the meet and confer.

       (b)     Judicial Intervention. A party that elects to challenge a confidentiality

designation may file and serve a motion that identifies the challenged material and sets

                                             7
Case: 4:19-cv-00153-GHD-JMV Doc #: 57 Filed: 10/19/20 8 of 15 PageID #: 894


forth in detail the basis for the challenge. Each such motion must be accompanied by a

competent declaration that affirms that the movant has complied with the meet and confer

requirements of this procedure.      The burden of persuasion in any such challenge

proceeding shall be on the designating party. Until the Court rules on the challenge, all

parties shall continue to treat the materials as Confidential Information under the terms of

this Agreement.

10.     Action by the Court. Applications to the Court for an order relating to materials

or documents designated Confidential Information shall be by motion. Nothing in this

Agreement or any action or agreement of a party under this Agreement limits the Court’s

power to make orders concerning the disclosure of documents produced in discovery, any

evidentiary hearing, or trial.

11.     Use of Confidential Documents or Information at Trial. Nothing in this

Agreement shall be construed to affect the use of any document, material, or information

at any trial or hearing.

12.     Confidential Information Subpoenaed or Ordered Produced in Other

Litigation.

        (a)     If a receiving party is served with a subpoena or an order issued in

other litigation that would compel disclosure of any material or document

designated in this action as Confidential Information, the receiving party must so

notify the designating party, in writing, immediately and in no event more than

three court days after receiving the subpoena or order. Such notification must

include a copy of the subpoena or court order.

        (b)     The receiving party also must immediately inform in writing the party who

                                             8
Case: 4:19-cv-00153-GHD-JMV Doc #: 57 Filed: 10/19/20 9 of 15 PageID #: 895


caused the subpoena or order to issue in the other litigation that some or all of the material

covered by the subpoena or order is the subject of this Agreement. In addition, the

receiving party must deliver a copy of this Agreement promptly to the party in the other

action that caused the subpoena to issue.

       (c)     The purpose of imposing these duties is to alert the interested persons to

the existence of this Agreement and to afford the designating party in this case an

opportunity to try to protect its Confidential Information in the court from which the

subpoena or order issued. The designating party shall bear the burden and the expense of

seeking protection in that court of its Confidential Information, and nothing in these

provisions should be construed as authorizing or encouraging a receiving party in this

action to disobey a lawful directive from another court. The obligations set forth in this

paragraph remain in effect while the party has in its possession, custody or control

Confidential Information by the other party to this case.

13.    Obligations on Conclusion of Litigation.

       (a)     Agreement Continues in Force. Unless otherwise agreed or ordered,

this Agreement shall remain in force after dismissal or entry of final judgment not subject

to further appeal.

       (b)     Obligations at Conclusion of Litigation.             W ithin sixty days after

dismissal or entry of final judgment not subject to further appeal, except as provided for

in Subsection (c) below, all Confidential Information and documents marked

“CONFIDENTIAL - SUBJECT TO CONFIDENTIALITY AGREEMENT” under this

Agreement, including copies as defined in ¶ 3(a), shall be returned to the producing party

unless: (1) the document has been offered into evidence or filed without restriction as to

                                              9
Case: 4:19-cv-00153-GHD-JMV Doc #: 57 Filed: 10/19/20 10 of 15 PageID #: 896


disclosure; (2) the parties agree to destruction to the extent practicable in lieu of return;1

or (3) as to documents bearing the notations, summations, or other mental impressions of

the receiving party, that party elects to destroy the documents and certifies to the producing

party that it has done so.

       (c)     Retention of Work Product and One Set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel may

retain (1) attorney work product, including an index that refers or relates to designated

Confidential Information so long as that work product does not duplicate verbatim

substantial portions of Confidential Information, and (2) one complete set of all documents

filed with the Court including those filed under seal. Any retained Confidential

Information shall continue to be protected under this Agreement. An attorney may use his

or her work product in subsequent litigation, provided that its use does not disclose or use

Confidential Information.

14.    Agreement Subject to Modification.            This Agreement shall be subject to

modification by the Court on its own initiative or on motion of a party or any other person

with standing concerning the subject matter. This Agreement is not intended to and shall

not benefit or be invoked by persons or entities not a party to this lawsuit, other than any

person or entity who is required to respond to a subpoena served by a party in this matter.

A person or entity whose documents are subject to a subpoena served by a party may




1
  The parties may choose to agree that the receiving party shall destroy documents
containing Confidential Information and certify the fact of destruction, and that the
receiving party shall not be required to locate, isolate, and return e-mails (including
attachments to e-mails) that may include Confidential Information, or Confidential
Information contained in deposition transcripts or drafts or final expert reports.
                                           10
Case: 4:19-cv-00153-GHD-JMV Doc #: 57 Filed: 10/19/20 11 of 15 PageID #: 897


invoke the protection of the Court under this Agreement and, at the Court’s discretion,

designate documents as Confidential Information pursuant to this Agreement.

15.      No Waiver, Admission or Prior Judicial Determination. This Agreement is

entered based on the representations and agreements of the parties and for the purpose of

facilitating discovery.    Nothing herein shall be construed or presented as a judicial

determination that any document or material designated Confidential Information by

counsel or the parties is entitled to protection under the Federal Rules of Civil Procedure

and the Local Rules of the United States District Court for the Northern District of

Mississippi or otherwise until such time as the Court may rule on a specific document or

issue.

16.      Production of Privileged Information. Pursuant to Federal Rule of Evidence

502, the production of any document, material, or other information during discovery in

this action that a party later claims should not have been produced because of a privilege

or other immunity from discovery, including but not limited to the attorney-client privilege

or work product doctrine, will not be deemed to waive any privilege. A party or non-party

may request the return of any such document, material, or other information by identifying

the document produced and stating the basis for withholding such document from

production. If a party requests the return, pursuant to this paragraph, of any such produced

privileged document then in the custody of another party, the possessing party shall within

five (5) days return to the requesting party the privileged item (including all attachments

to that item) in its entirety (and all copies thereof), and shall expunge from any other

document any portions which contain or reflect the contents of the produced privileged

item. The party returning such item may then move the Court for an order compelling

                                            11
Case: 4:19-cv-00153-GHD-JMV Doc #: 57 Filed: 10/19/20 12 of 15 PageID #: 898


production of the material, but said party shall not assert as a ground for entering such an

order the fact (or circumstances) of the production.

17.    Persons Bound. This Agreement shall take effect when entered and shall be

binding upon all counsel of record and their law firms, the parties, and persons made

subject to this Agreement by its terms.

       So Ordered.



      Dated:    October 19, 2020                 /s/ Jane M. Virden
                                                 U.S. MAGISTRATE JUDGE




                                            12
Case: 4:19-cv-00153-GHD-JMV Doc #: 57 Filed: 10/19/20 13 of 15 PageID #: 899



 WE SO MOVE/STIPULATE                 WE SO MOVE/STIPULATE
 and agree to abide by the            and agree to abide by the
 terms of this Order                  terms of this Order

 /s/    Erik D. Peterson              /s/    Mark L. Hanover

 Erik D. Peterson          Dale Gibson Russell
 MEHR FAIRBANKS & PETERSON Blake Damon Smith
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                                      kristine.schanbacher@dentons.com
 Dated: October 16, 2020
                                      Attorneys for Defendant Allstate Vehicle and
                                      Property Insurance Company

                                      Dated: October 16, 2020




                                     13
Case: 4:19-cv-00153-GHD-JMV Doc #: 57 Filed: 10/19/20 14 of 15 PageID #: 900




                                    ATTACHMENT A

                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                          GREENVILLE DIVISION

 FILLISA HUEY, individually and on behalf
 of all others similarly situated,

                 Plaintiff,

         v.                                             Case No. 4:19-cv-00153-GHD-JMV

 ALLSTATE VEHICLE AND
 PROPERTY INSURANCE COMPANY,

                 Defendant.

              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

        The undersigned hereby acknowledges that he/she has read the Confidentiality

Order dated __________ in the above-captioned action and attached hereto, understands

the terms thereof, and agrees to be bound by its terms. The undersigned submits to the

jurisdiction of the United States District Court for the Northern District of Mississippi in

matters relating to the Confidentiality Order and understands that the terms of the

Confidentiality Order obligate him/her to use documents designated CONFIDENTIAL -

SUBJECT TO CONFIDENTIALITY AGREEMENT in accordance with the Order solely

for the purposes of the above-captioned action, and not to disclose any such documents or

information derived directly therefrom to any other person, firm or concern.

        The undersigned acknowledges that violation of the Confidentiality Order may

result in penalties for contempt of court.

Name:


                                             14
Case: 4:19-cv-00153-GHD-JMV Doc #: 57 Filed: 10/19/20 15 of 15 PageID #: 901


Job Title:

Employer:

Business Address:




Date:
                    Signature




                                    15
